                                                                                     DISTRICT OF OREGON
                                                                                          FILED
                                                                                       December 18, 2019
                                                                                   Clerk, U.S. Bankruptcy Court



            Below is an order of the court.




                                                                   _______________________________________
                                                                              DAVID W. HERCHER
                                                                             U.S. Bankruptcy Judge




                                   UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF OREGON

In re                                                )
                                                     )    Case No._______________
                                                     )
                                                     )    APPLICATION TO EMPLOY
                                                     )    BROKER, AND ORDER THEREON
Debtor(s)                                            )

         The undersigned trustee applies to employ _____________________________, a licensed real estate or
other broker, whose address is _________________________________________________________________,
to sell the following estate property under an exclusive listing or other agreement:




       The terms of employment and compensation are customary in this marketplace for this type of sale and
are as shown in the attached listing or other agreement. In general terms, the proposed compensation is as
follows:                                                                                                   .

        To the best of the trustee’s knowledge said broker has no connections with the entities listed in the
verification below, except as described therein.
The Trustee has known broker since his teenage years.The broker temporarily used one of the offices in a
building owned by the trustee from 12/17 to 5/18. The Trustee has not received nor expects any rent.

        DATE: __________                                        ____________________________________
                                                                               Trustee
753.60 (8/8/13)            Page 1 of 2        *** SEE NEXT PAGE ***

                              Case 19-63297-dwh7         Doc 17   Filed 12/18/19
        I, the broker named above, verify that neither I nor my company has any connections with the debtor(s),
creditors, U.S. Trustee, Asst. U.S. Trustee, any employee of either the U.S. Trustee or Asst. U.S. Trustee, any
District of Oregon Bankruptcy Judge, any other party in interest, or their respective attorneys or accountants,
except as follows:




                                             _____________________________________________________
                                                           Applicant/Relation to Company


       IT IS ORDERED that employment of the above-named broker is authorized and the trustee is authorized
to compensate said broker within the above terms without further court order unless an interested party files a
timely objection to the notice of sale and proposed compensation.

      IT IS FURTHER ORDERED that any proposed sale of the listed asset and broker compensation is subject
to bankruptcy court approval if timely objections are filed, any arbitration or mediation provision in the attached
agreement is without effect, and all issues regarding the employment relationship or the interpretation of the
attached agreement are subject to the exclusive jurisdiction of the bankruptcy court.

                                                       ###




753.60 (8/8/13)           Page 2 of 2


                              Case 19-63297-dwh7         Doc 17     Filed 12/18/19
Case 19-63297-dwh7   Doc 17   Filed 12/18/19
Case 19-63297-dwh7   Doc 17   Filed 12/18/19
Case 19-63297-dwh7   Doc 17   Filed 12/18/19
Case 19-63297-dwh7   Doc 17   Filed 12/18/19
Case 19-63297-dwh7   Doc 17   Filed 12/18/19
Case 19-63297-dwh7   Doc 17   Filed 12/18/19
